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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : Violations:
18 U.S.C. § 1349 (conspiracy - 1 count)
MARC HUBBARD 18 U.S.C. §§ 1343 (wire fraud
HERBERT FRANKL[N GREEN : fraud - 7 counts)

18 U.S.C. § 2 (aid and abet)
Notice of forfeiture

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THE GRAND JURY CHARGES THAT:

At all times material to this indictment:

l. Defcndant MARC HUBBARD Was the president of Sports Dimensions, Inc.
(“SDI”), a company that Was incorporated on or about January 25, 2002 in NoIth Carolina and
on or about June 6, 2006 in Florida. SDI purported to specialize in the entertainment industry,
specifically concert promotion and nightclub management

2. Defendant MARC HUBBARD was the president of Castle Entertainment
(“Castle”), a company that Was incorporated on or about July 28, 2003 in South Carolina. Castle
purported to specialize in nightclub management

3. Defendant HERBERT FRANKL[N GREEN Was formerly a lawyer at a law firm
in Philadelphia, Pennsylvania, and in or about 2008, became a solo practitioner in Washington,

D.C.

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4. From in or about 2008 to in or about August 2010, at Philadelphia, in the Eastern
District of Pennsylvania, and elsewhere defendants
MARC HUBBARD
and
HERBERT FRANKLH\I GREEN
conspired and agreed, together and with others known and unknown to the grand jury, to commit
wire fraud, that is, to devise and intend to devise a scheme to defraud investors and to obtain

money and property by means of false and fraudulent pretenses, representations and promises, in

violation of Title 18, United States Code, Sections 1343 and 1349.

MANNER AND MEANS

It was part of the conspiracy that:

5. Defendant MARC HUBBARD promoted himself and his company SDI as highly
successful concert co-promoters for well-known music artists like Beyonce, Jay-Z, and Alicia
Keys. SDI’s Business Plan falsely represented approximately $14,277,068 in ticket sales from
July 2006 to January 10, 2008.

6. Defendant MARC HUBBARD promised investors an approximate 25-30% return
on their short-term investments with SDI.

7. Defendant HERBERT FRANKL]N GREEN was defendant MARC HUBBARD’s
attorney and negotiated or assisted in the negotiation of the contracts between defendant
HUBBARD and his investors.

8. In order to convince investors to invest with SDI, defendant MARC HUBBARD
told investors that their funds were protected by a $10 million surety bond. The surety bond was
offered as collateral on most of the investors’ contracts. lt was, however, a fraudulent document,

and there was never a surety bond.

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9. To further reassure investors of their funds’ security and to encourage greater
investments, defendant MARC HUBBARD provided them with fraudulent documentation of his
own financial solvency as well as SDI and Castle’s, including but not limited to, bank account
statements, personal tax returns, corporate tax returns, copies of checks, and concert documents.

10. Defendant HERBERT FRANKL]N GREEN also made false representations to
investors at the direction of defendant MARC HUBBARD.

11. Because defendant MARC HUBBARD was located in North Carolina, defendant
HERBERT FRANKLIN GREEN was in Washington, DC, and the investors were in the
Philadelphia, Pennsylvania area or elsewhere, communication among them was usually by
telephone or email. Defendants HUBBARD and GREEN usually forwarded fraudulent
documentation to investors by email.

12. lnstead of using the investors’ funds for concert promotions as defendant MARC
HUBBARD represented, almost all of their money was used to pay other earlier investors and to
pay for defendant MARC HUBBARD’s personal and business expenses, and for things other
than the concerts that defendant HUBBARD was allegedly co-promoting.

13. Defendant HERBERT FRANKL]N GREEN assisted defendant MARC
HUBBARD in the unauthorized distribution of the investors’ funds.

14. In total, investors gave defendant MARC HUBBARD approximately $2,125,000
to invest and only received approximately $326,500 in return. Defendant MARC HUBBARD
took at least $1,798,500 from his victims. Of the $1,798,500, defendant HERBERT FRANKLIN

GREEN took approximately $333,000.

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OVERT ACTS

In furtherance of the conspiracy and to accomplish its objects, defendants MARC
HUBBARD and HERBERT FRANKLIN GREEN committed the following overt acts, among
others, in the Eastern District of Pennsylvania:

l. On or about February 4, 2008, Victim #l , an individual known to the Grand Jury,
invested approximately $250,000 with defendant MARC HUBBARD to co-promote a series of
concerts within 90 days for a return of $45,000. Defendant HERBERT FRANKL]N GREEN
negotiated this contract on behalf of defendant HUBBARD and SDI, and its subsequent
extension.

2. On or about April 16, 2008, defendants MARC HUBBARD and HERBERT
FRANKLIN GREEN met with Victim #l in Philadelphia, Pennsylvania, to review SDI’s
Business Plan which represented an average return on investment exceeding 30%.

3. On or about April 18, 2008, Victim #l signed a co-promotion agreement and
promissory note to lend defendant MARC HUBBARD $700,000 for a 25 % return in 90 days to
invest in three Alicia Keys concerts. Defendant HUBBARD offered the bogus $10 million
surety bond as collateral.

4. ln or about June 2008, defendant MARC HUBBARD proposed that Victim #l
could be the lender to SDI on a master revolving credit line. Victim #l requested due diligence
documentation in order to consider defendant HUBBARD’s proposal.

5. On or about July 3, 2008, Victim #l signed a 90-day co-promotion agreement and
promissory note to lend defendant MARC HUBBARD $650,000 for a return of 25% in 90 days
to invest in Lil Wayne concerts. Defendant HUBBARD offered the bogus $10 million surety

bond as collateral

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6. On or about August 2, 2008, as part of the requested due diligence documentation,
defendant HERBERT FRANKLIN GREEN forwarded to Victim #l a purported SDI tax return,
which had never been filed and a fraudulent personal financial statement of defendant MARC
HUBBARD.

7. On or about August 5 , 2008, as part of the requested due diligence documentation,
defendant HERBERT FRANKLIN GREEN forwarded to Victim #l defendant MARC
HUBBARD’s fraudulent personal tax returns and a fraudulent FinGen account statement.

8. On or about August 6, 2008, as part of the requested due diligence documentation,
defendant HERBERT FRANKLIN GREEN forwarded to Victim #l an alleged current
Prudential Life Insurance Policy for defendant MARC HUBBARD which had, in fact, lapscd.

9. On or about August l4, 2008, Victim #l entered into an agreement to lend
defendant MARC HUBBARD $100,000 for a 25 % return in 90 days to promote various
concerts. Defendant HUBBARD offered the bogus $10 million surety bond as collateral.

10. On or about August 22, 2008, as part of the requested due diligence
documentation, defendant HERBERT FRANKLIN GREEN forwarded to Victim #l an alleged
email from lntemational Underwriters purporting to confirm the $10 million surety bond. The
bond was fraudulent and defendant MARC HUBBARD had created the fictitious email account
and website for Intemational Underwriters.

ll. On or about September ll, 2008, Victim #l entered into an agreement to lend
defendant MARC HUBBARD $100,000 for a 25% return in 60 days to promote various
concerts. Defendant HUBBARD offered the bogus $10 million surety bond as collateral.

l2. On or about September l9, 2008, as part of the requested due diligence

documentation, defendant HERBERT FRANKLIN GREEN forwarded to Victim #l a copy of a

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fraudulent Royal Bank of Canada check, check no. 102297666 dated June 24, 2008, in the
amount of $1,975,000, purporting to represent the deposits on account for the Lil Wayne
concerts. Defendant GREEN also forwarded to Victim #l a copy of a fraudulent SunTrust Bank
official check, check no. 3730652505 dated May ll, 2006, as evidence of payment for the surety
bond.

13. On or about September 23, 2008, as part of the requested due diligence
documentation, defendant HERBERT FRANKLIN GREEN forwarded to Victim #l a fraudulent
settlement sheet from the Back to School concert.

14. On or about March 25, 2008, Victim #2, an individual known to the Grand Jury,
entered into an agreement to lend defendant MARC HUBBARD $225,000 for a 15% return by
June 25 , 2008 to promote various concerts. Defendant HUBBARD offered the bogus $10
million surety bond as collateral.

15. On or about August l, 2009, Victim #2 entered into an agreement to lend
defendant MARC HUBBARD $30,000 for a 25% return by August l, 2010 to promote various
concerts. Defendant HUBBARD offered the bogus $10 million surety bond as collateral.

16. In or about September 2009, defendant MARC HUBBARD met with Victim #2
in North Carolina to discuss Victim #2’s investments and to roll them into other concerts.
Defendant HUBBARD showed Victim #2 fraudulent personal bank account statements.

l7. On or about November 24, 2009, defendant MARC HUBBARD emailed Victim
#2 a fraudulent Ticketmaster Audit report for an alleged R Kelly Concert at the Time Warner
Arena on November 21, 2009.

18, ln or about March 2010, defendant MARC HUBBARD proposed that Victim #2

could be the lender to SDI on a master revolving credit line.

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l9. On or about March lO, 2010, defendant MARC HUBBARD forwarded to Victim
#2 by email, a copy of a fraudulent $10 million surety bond along with a contract for Victim #2
to sign for the master credit revolving line.

20. On or about April 29, 2010, defendant HERBERT FRANKLIN GREEN
fraudulently advised Victim #2 by email that the Internal Revenue Service had seized SDI lilnds.

21. On or about April 9, 2009, Victim #3, an individual know to the Grand Jury,
entered into an agreement to lend defendant MARC HUBBARD $30,000 for a 15% return in 90
days to promote a Gucci Mane concert. Defendant HUBBARD offered the bogus $lO million
surety bond as collateral.

22. On or about May ll, 2009, Victim #3 entered into an agreement to lend defendant
MARC HUBBARD $100,000 for a 15% return in 90 days for an unspecified concert, although
defendant HUBBARD advised her that it would be a Beyonce concert. Defendant HUBBARD
offered the bogus $10 million surety bond as collateral.

All in violation of Title 18, United States Code, Section 1349.

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COUNTS TWO THROUGH EIGHT

THE GRAND JURY FURTHER CHARGES THAT:

1. Paragraphs l through 3 and 5 through 14 and overt acts 1 through 22 of Count
One are incorporated here.

2. On or about each of the dates set forth below, in Philadelphia, in the Eastern
District of Pennsylvania and elsewhere, defendants

MARC HUBBARD
and
HERBERT FRANKLH\I GREEN

for the purpose of executing the scheme described above, and attempting to do so, and aiding and
abetting its execution, caused to be transmitted by means of wire communication in interstate

commerce the signals and sounds described below for each count, each transmission constituting

a separate count:

 

COUNT DATE DESCRIPTION

 

Two March l4, 2010 Defendant HUBBARD email to Victim #2 in
Bethlehem, Pennsylvania advising among other things,
“We made 121000 of profit of the last jayz show.”

 

Three March l4, 2010 Defendant HUBBARD email to Victim #2 in
Bethlehem, Pennsylvania requesting that he wire Victim
#2 $10,000 instead of Victim #2 cashing check.

 

 

Four April 29, 2010 Defendant GREEN email to Victim #2 in Bethlehem,
Pennsylvania advising, “[W]e have been dealing with
some maj or lRS issues on behalf of SDI.”

 

 

Five April 29, 2010 Defendant GREEN email to Victim #2 in Bethlehem,
Pennsylvania responding that he is “Still negotiating”
with the IRS.

Six July 26, 2010 Defendant HUBBARD email to Victim #l in

Doylestown, Pennsylvania advising that he won his
lawsuit and will pay what he owes Victim #l.

 

 

Seven July 26, 2010 Defendant HUBBARD email to Victim #l in
Doylestown, Pennsylvania attaching fraudulent Wire for
Alicia Keys concert.

 

 

 

 

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COUNT

DATE

DESCRIPTION

 

 

Eight

September 29, 2010

 

 

Defendant GREEN email to Victim #2 in
Bethlehem, Pennsylvania memorializing
conference call on September 24, 2010 and

addressing Victim #2’s email Hom September 22,
20 l 0.

 

All in violation of Title 18, United States Code, Sections 1343, 1349, and 2.

 

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NOTICE OF FORFEITURE
THE GRAND JURY FURTHER CHARGES THAT:

1. As a result of the violations of Title 18, United States Code, Section
1343 and 1349 set forth in this indictment, defendants
MARC HUBBARD
and
HERBERT FRANKLIN GREEN
shall forfeit to the United States of America any property that constitutes, or is derived from,
proceeds obtained directly or indirectly from the commission of such violations including, but
not limited to, the sum of $2,125,000.
2. If any of the property subject to forfeiture, as a result of any act or
omission of the defendants:
(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third party;
(c) has been placed beyond the jurisdiction of the Court;
(d) has been substantially diminished in value; or
(e) has been commingled with other property which cannot be divided
without difficulty;
it is the intent of the United States, pursuant to Title 28, United States Code, Section 246l(c),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendant(s) up to the value of the property subject to forfeiture.

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All pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title 28,

United States Code, Section 2461.

A TRUE BILL:

 

GRAND JURY FOREPERSON

 

ZANE DAVID MEMEGER
UNITED STATES ATTORNEY

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